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                  IN THE UNITED STATES DISTRICT COURT FOR THE
9
                         EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,          )         1:04-CR-5285 OWW
12                                      )
               Plaintiff,               )         PRELIMINARY ORDER OF
13                                      )         FORFEITURE
          v.                            )
14                                      )
                                        )
15   GEORGE ZEPEDA,                     )
                                        )
16              Defendant.              )
     ___________________________________)
17
18        Based upon the plea agreement entered into between plaintiff
19   United States of America and defendant George Zepeda, it is hereby
20   ORDERED, ADJUDGED AND DECREED as follows:
21        1.   Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c),
22   defendant George Zepeda’s interest in the following property shall
23   be condemned and forfeited to the United States of America, to be
24   disposed of according to law:
25        a)    A Remington 20 Gauge Shotgun;
26        b)   A Colt .38 caliber revolver;
27        c)   A Lorcin .380 caliber semiautomatic pistol; and,
28        d)   A Ami Tanfoglio Giuseppe .25 caliber semiautomatic pistol.

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1         2.   The above-listed forfeited property constitutes personal
2    property used or intended to be used to commit the violation of 18
3    U.S.C. § 922(g).
4         3.   Pursuant to Rule 32.2(b), the Attorney General (or a
5    designee) shall be authorized to seize the above-described property.
6    That the aforementioned forfeited property shall be seized and held
7    by the Bureau of Alcohol, Tobacco, Firearms and Explosives, or its
8    designee, in its secure custody and control.
9         4.    a.   Pursuant 18 U.S.C. § 924(d) incorporating Section
10   5845(a) of the Internal Revenue Code, U.S.C. § 853(n) and Local Rule
11   83-171, the United States forthwith shall publish at least once for
12   three successive weeks in a newspaper of general circulation located
13   in the county in which the above-described property was seized,
14   notice of this Order, notice of the Attorney General’s intent to
15   dispose of the property in such manner as the Attorney General may
16   direct, and notice that any person, other than the defendant, having
17   or claiming a legal interest in the above-listed forfeited property
18   must file a petition with the Court within thirty (30) days of the
19   final publication of the notice or of receipt of actual notice,
20   whichever is earlier.
21              b.   This notice shall state that the petition shall be for
22   a hearing to adjudicate the validity of the petitioner's alleged
23   interest in the property, shall be signed by the petitioner under
24   penalty of perjury, and shall set forth the nature and extent of the
25   petitioner's right, title or interest in the forfeited property and
26   any additional facts supporting the petitioner's claim and the
27   relief sought.
28              c.   The United States may also, to the extent practicable,

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1    provide direct written notice to any person known to have alleged an
2    interest in the property that is the subject of the Order of
3    Forfeiture, as a substitute for published notice as to those persons
4    so notified.
5         5.   If a petition is timely filed, upon adjudication of all
6    third-party interests, if any, this Court will enter a Final Order
7    of Forfeiture pursuant to 18 U.S.C. § 924 and 28 U.S.C. § 2461(c) in
8    which all interests will be addressed.
9         SO ORDERED this __2nd___ day of ___August_____________, 2005.
10
11                                    /s/ OLIVER W. WANGER__________
                                      OLIVER W. WANGER
12                                    United States District Judge
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